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           IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                       Plaintiff,

     Vs.                                       Nos. 04-40001-02-SAC
                                                    06-3228-SAC

FELIPE BEDOLLA-IZAZAGA,

                       Defendant.


                      MEMORANDUM AND ORDER

            The case comes before the court on the defendant’s motion to

reopen the post-conviction proceedings in which the court denied the

defendant’s motion for relief pursuant to 28 U.S.C. § 2255. (Dk. 385). A

jury convicted the defendant of eight drug-related offenses, and the court

sentenced him to 360 months imprisonment on four counts, 48 months on

three counts, and 240 months on one count, with all terms to run

concurrently. (Dk. 333). The defendant did not appeal his conviction but

filed a motion to vacate under 28 U.S.C. § 2255 in August of 2006. (Dk.

346). After receiving the government’s response (Dk. 356) and the

defendants reply (Dk. 363), the court decided the merits of the defendant’s

motion and denied all relief. (Dk. 365).
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            Invoking what he calls the “inherent power” of the court to grant

equitable relief and citing what he characterizes as the court’s “inherent

authority” to reopen pursuant to Fed. R. Civ. P. 60(b)(6), the defendant

asks the court to reopen the § 2255 proceeding and address the legality of

his sentence and the sentencing proceedings in light of Blakely v.

Washington, 542 U.S. 296 (2004), and United States v. Booker, 543 U.S.

220 (2005). Additionally, the defendant asks the court to address whether

he received effective assistance of counsel at trial and at sentencing. The

defendant also asserts his counsel failed to file a direct appeal.

            There are statutory limits on second or successive § 2255

motions such that they may “proceed only in specified circumstances and

only with a circuit court’s prior authorization.” In re Lindsey, 582 F.3d 1173,

1174 (10th Cir. 2009). Specifically, “[a] second or successive motion must

be certified as provided in section 2244 by a panel of the appropriate courts

of appeals . . . .” 28 U.S.C. § 2255(h). In 2005, the Supreme Court

“clarified that not all 60(b) motions in such proceedings constitute second

or successive petitions.” Spitznas v. Boone, 464 F.3d 1213, 1215 (10th

Cir. 2006) (citing Gonzalez v. Crosby, 545 U.S. 524 (2005)). “Under

Gonzalez, a 60(b) motion is a second or successive petition if it in


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substance or effect asserts or reasserts a federal basis for relief from the

petitioner’s underlying conviction.” Id. The Tenth Circuit has defined two

categories for a “true” Rule 60(b) motion: “if it either (1) challenges only a

procedural ruling of the habeas court which precluded a merits

determination of the habeas application; or (2) challenges a defect in the

integrity of the federal habeas proceeding, provided that such a challenge

does not itself lead inextricably to a merits-based attack on the disposition

of a prior habeas petition.” Id. at 1215-16; see also In re Lindsey, 582 F.3d

at 1175.

            The defendant’s motion attacks his underlying conviction

asserting constitutional claims either that were omitted from his original §

2255 petition or that are being reasserted. The court decided the

defendant’s original § 2255 motion on the merits and did not deny relief on

the basis of a procedural ruling. Nor does the defendant challenge any

“defect in the integrity” of the prior § 2255 proceeding. The defendant’s

motion to reopen is a challenge to his conviction properly made under §

2255, not Rule 60(b). See In re Cline, 531 F.3d 1249, 1253 (10th Cir.

2008) (summarizing Gonzalez as holding that “a claim nominally filed under

Rule 60(b) in a habeas proceeding is, in substance, a successive habeas


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claim if it asserts or reasserts a substantive challenge to the validity of the

conviction or sentence”). The court, therefore, concludes that the entirety

of the defendant’s motion is a second or successive § 2255 motion and

that the court lacks subject matter jurisdiction over it. United States v.

Nelson, 465 F.3d 1145, 1149 (10th Cir. 2006). In order to file a second or

successive § 2255 motion in the district court, the movant must first seek

and obtain prior authorization from the Tenth Circuit. See 28 U.S.C. §

2244(b)(3).

              IT IS THEREFORE ORDERED that the defendant’s motion to

reopen the 28 U.S.C. § 2255 proceedings (Dk. 385) is an unauthorized

second or successive § 2255 motion that is transferred to the Tenth Circuit

Court of Appeals pursuant to 28 U.S.C. § 1631.

              IT IS FURTHER ORDERED that the Clerk of the Court shall

forward a copy of the defendant’s motion to reopen (Dk. 385) to the Clerk

of the Tenth Circuit Court of Appeals for processing under 28 U.S.C. §

2244(b)(3). The Clerk also shall send a copy of this Memorandum and

Order to the defendant and to the local office of the United States Attorney.




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     Dated this15th day of April, 2010, Topeka, Kansas.



                 s/ Sam A. Crow
                 Sam A. Crow, U.S. District Senior Judge




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